Certified Document Number: 107967101 - Page 1 of 1

Case 4:24-cv-03253

THE STATE OF TEXAS

YS.

ANTHONY CRAIG MITCHELL
3702 WOODVALLEY DR
HOUSTON TX 77025

NCIC CODE: 5203 03

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SPN: 01814954
DOB: B M 01/05/1983
DATE PREPARED: 05/03/2023

RELATED CASES:

FELONY CHARGE: Unlawful Possession of Firearm by Felon

CAUSE NO: 181797001010

HARRIS COUNTY DISTRICT COURT NO: 178

FIRST SETTING DATE: 5/5/2023

Filed 23 May 03 P9:34

Marilyn Burgess - District Clerk
Harris County

EA001_1720599

By: WASHINGTON, ASONAFER

D.A. LOG NUMBER: 2939757

CJIS TRACKING NO.: 9270534634A001
AGENCY: HPD

O/R NO: 062387523

ARREST DATE: 05/03/2023 11:28am

COURT ORDERED BAIL: Refer to (15.17)
PRIOR CAUSE NO:
CHARGE SEQ NUM: 1

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Before me, the undersigned Assistant District Attomey of Harris County, Texas, this day appeared the undersigned affiant, who under oath says
that he has good reason to believe and does believe that in Harris County, Texas, ANTHONY CRAIG MITCHELL, hereafter styled the
Defendant, heretofore on or about May 3, 2023, did then and there unlawfully, intentionally and knowingly possess a ftrearm at a location
other than the premises at which the Defendant lived, after being convicted of the felony offense of Possession with Intent to Deliver
Manufacture in the 263rd District Court of Harris County, Texas, in Cause Number 1237460, on January 13, 2010.

Before the commission of the offense alleged above, on May 20, 2004, in Cause No. 0971152, in the 228th District Court of Harris County,
Texas, the Defendant was convicted of the felony offense of Possession with Intent to Deliver Manufacture.

AGAINST THE PEACE AND DIGNITY OF THE STATE.

Signed and sworn by me on 05/03/2023

Rochelle McConaga
AFFIANT

B.A. LOG NUMBER: 2939757

Duly attested by me on 05/03/2023

Mick Sellergren

Assistant District Attorney

Harris County District Attomey’s Office
TBC No. 24108963

SELLERGREN_MICK @DAO.HCTX.NET

COMPLAINT

DEFENDANT: ANTHONY CRAIG MITCHELL

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I, Marilyn Burgess, District Clerk of Harris
County, Texas certify that this is a tue and
correct copy of the orginal record filed and or
recorded in my office, electronically or hard
copy. as it appears on this date.

Wimess my official hand and seal of office
this August 29, 2024

Certified Document Number: 107967101

sib Burgeo

Marilyn Burgess, DISTRICT CLERK
HARRIS COUNTY, TEXAS

In accordance with Texas Government Code 51.301 and 406.013 electronically transmitted
authenticated

documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com
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Harris County Criminal District Docket Sheet

THE STATE OF TEXAS VS. MITCHELL, ANTHONY CRAIG Bond: $25,000
Cause No.: 181797001010-3 Court: 178th
Offense: FELON POSS WPN Level: 3rd Degree Felony Next Setting:
Charging Instrument: Felony Indictment Case Disposition:

GENERAL ORDERS OF THE COURT

Case Status: Active - CRIMINAL
Defendant Status: Bond Made

. Docket Sheet Entries
Date Comment : .

5/3/2023 Felony Complaint Filed
OFFENSE: FELON POSS WPN 3rd Degree Felony
Band Amount: $0

§/3/2023 MOTION FILED: ST MO BND CONDS.

§/3/2023 MOTION FILED: ST MO SUFF BAIL

5/3/2023
PRELIMINARY ASSIGNED COURT APPEARANCE SETTING: 5/5/2023 9:00 AM

5/4/2023

5/4/2023 PROBABLE CAUSE FOUND, STATUTORY WARNINGS GIVEN TO DEFENDANT

5/4/2023 Individual Assessment Held

§/4/2023 COMMITMENT ISSUED-FELONY
BOND AMOUNT: $25,000

5/4/2023 BOND APPROVED AMOUNT $25,000
TYPE: SURETY TIME: 0826
BONDSMAN: ASC-PRUETT, CARL R

§/4/2023 BOND FILED AMOUNT $25,000
TYPE: SURETY TIME: 2010
BONDSMAN: ASC-PRUETT, CARL R

5/4/2023 ORDER: FINANCIAL AFFIDAVIT FILED

§/4/2023 ORDER: GRTD SET BAIL $25000 H/O AM

5/4/2023 ORDER: PRETRIAL COURTESY SUPERVISION GRANTED

5/4/2023 PC FOUND AND WARNINGS GIVEN 6/01/2023 09:30 AM Arraignment

5/5/2023 Defendant MITCHELL, ANTHONY CRAIG appeared without counsel

5/5/2023 MOTION FILED: S/f¥ BOND CONDITIONS

5/5/2023 ORDER: PTRL COURTESY SUPV AMND

5/5/2023 Reset By Agreement Of Both Parties 5/04/2023 01:00 AM Probable Cause Hearing

5/9/2023 ORDER; PTRL COURTESY SUPV AMND

6/1/2023 On Decket In Error 8/30/2023 09:30 AM Examing Trial

8/23/2023 GRAND JURY ACTION: Felony Indictment GJ COURT: 339
OFFENSE: FELON POSS WPN 3rd Degree Felony
BOND AMOUNT: $25,000

8/30/2023

Page 1 of 6
8/29/2024 11:32:14 AM

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Harris County Criminal District Docket Sheet

8/30/2023 Defendant MITCHELL, ANTHONY CRAIG appeared with counsel RAY, MAVERICK JOHN,
8/30/2023 On Docket In Error, 8/30/2023 09:30 AM DCM Evidence Exchange
8/30/2023 Reset Upon Defense Request, 10/09/2023 09:30 AM DCM Comprehensive Pretrial Conference
10/9/2023
10/9/2023 Defendant MITCHELL, ANTHONY CRAIG appeared with counsel RAY, MAVERICK JOHN.
10/9/2023 Reset By Agreement Of Both Parties, 10/12/2023 09:30 AM DCM Comprehensive PreTrial Conference
10/12/2023
10/12/2023 Defendant MITCHELL, ANTHONY CRAIG appeared with counsel RAY, MAVERICK JOHN.
10/12/2023 MOTION FILED: S/M PROTECT ORDER
10/42/2023 ORDER: PROTECTIVE ORDER ST GRANT
10/12/2023 Reset By Agreement Of Both Parties, 10/26/2023 09:30 AM DCM Comprehensive PreTrial Conference
10/26/2023
10/26/2023 Defendant MITCHELL, ANTHONY CRAIG appeared with counsel RAY, MAVERICK JOHN.
10/26/2023 MOTION FILED: S/M AMEND INDICTMENT
10/26/2023 Reset By Agreement Of Both Parties, 3/01/2024 09:00 AM Jury Trial
11/13/2023 MOTION FILED: MTN DISC EXP WITN
11/13/2023 MOTION FILED: DEF MTN LIM REG EXT
11/13/2023 MOTION FILED: THEUS HEARING
11/13/2023 MOTION FILED: DEF MTN LIMINE
11/13/2023 MOTION FILED: DEF MTN SUPPRESS
1/31/2024 ORDER: AMEND INDICTMENT GRANTED
3/1/2024
3/1/2024 Defendant MITCHELL, ANTHONY CRAIG appeared with counsel RAY, MAVERICK JOHN.
3/1/2024 Reset By Operation Of Law, 3/05/2024 09:00 AM Jury Trial
3/5/2024
3/5/2024 Defendant MITCHELL, ANTHONY CRAIG appeared with counsel RAY, MAVERICK JOHN.
3/5/2024 MOTION FILED: S/M LIMINE
352024 MOTION FILED: WITHDRAW ATTY RECORD

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8/29/2024 11:32:14 AM

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Harris County Criminal District Docket Sheet

3/5/2024 Defendant MITCHELL, ANTHONY CRAIG appeared in person with Counsel RAY, MAVERICK JOHN. HADDAD,
MICHAEL appeared for the State. Court Reporter: Badipour, Louella Judge Presiding: CAROLYN JOHNSON
AT 11:00 A.M. COURT CAME TO ORDER ALL PARTIES PRESENT; DEFENDANT FILED A NOTICE TO FIRE
ATTORNEY
AT 11:02 A.M. DEFENSE BEGINS DISCUSSION
AT 11:10 A.M. STATE BEGINS DISCUSSON
AT 14:15 A.M. MOTICN TO WITHDRAW WAS FILED AT THIS, JUDGE TAKES NO ACTION ON MOTION TO
WITHDRAW
AT 11:15 A.M. DEFENDANT WOULD LIKE FOR DEFENSE TO STAY ON THE CASE
AT 17:17 A.M. COURT IN RECESS
3/5/2024 Reset By Agreement Cf Bcth Parties, 3/06/2024 09:00 AM Jury Trial
3/6/2024
3/6/2024 Defendant MITCHELL, ANTHONY CRAIG appeared with counsel RAY, MAVERICK JOHN.
3/6/2024 Defendant MITGHELL, ANTHONY CRAIG appeared in person with Counsel RAY, MAVERICK JOH, HADDAD,
MICHAEL appeared for the State. Court Reporter: Badipour, Louella Judge Presiding: CAROLYN JOHNSON
AT 10:06 AM COURT CAME TO ORDER ALL PARTIES ARE PRESENT. JUDGE TO DETERMINE IF THE
DEFENDANT CAN REPRESENT HIMSELF. JUDGE FINDS THE DEFENDANT NOT COMPETANT AND HAVE
COORDINATOR GIVE DEFENDANT A RESET TO HIRE ANOTHER ATTORNEY.
3/6/2024 MOTION FILED: DISCOVERY
3612024 ORDER: WITHDRAW AS ATTORNEY RECORD GRANTED
3/6/2024 Reset By Court 4/08/2024 09:30 AM Other
4/5/2024
4/5/2024 Defendant MITCHELL, ANTHONY CRAIG appeared without counsel
4/5/2024 MOTION FILED: ANSWER DA IN LIMINE
4/5/2024 Reset By Court, 4/12/2024 09:30 AM Other
4/8/2024 On Docket In Error, 4/05/2024 09:30 AM Other
4/12/2024
4/12/2024 Defendant MITCHELL, ANTHONY CRAIG appeared without counsel Defendant was LATE: 1st occurance.
42/2024 Reset By Court, 4/15/2024 09:30 AM Other
4/15/2024
4/15/2024 JUDGE JOHNSON, KELL DIANE ordered MONROY, MARJORIE MUNIZ
appointed as Appointed Defense Attorney
4/15/2024 Defendant MITCHELL, ANTHONY GRAIG appeared without counsel Defendant was LATE: 2nd occurance.
4/13/2024 Continued 6/14/2024 09:00 AM Jury Trial
4/18/2024 MOTION FILED: PROSE MOTION COMPEL
4/18/2024 MOTION FILED: PROSE SANCT PROSECT
6/14/2024 Defendant MITCHELL, ANTHONY GRAIG appeared with counsel MUNIZ, MARJORIE ANN.
6/14/2024 MOTION FILED: D/M COMPEL SEC NTC
6/14/2024 ORDER: D/M COMPEL VAUGHN SEC GRANTED
6/17/2024

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812912024 11:32:14 AM

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Harris County Criminal District Docket Sheet

6/17/2024

6/17/2024 Defendant MITCHELL, ANTHONY CRAIG appeared with counsel MUNIZ, MARJORIE ANN.

8/8/2024 MOTIGN FILED: S/M LIMINE

8/8/2024 MOTION FILED: S/M PROTECT ORDER

8/8/2024 ORDER: PROTECTIVE ORDER ST GRANT

8/16/2024

8/16/2024

8/16/2024 Defendant MITCHELL, ANTHONY CRAIG appeared with counsel MUNIZ, MARJORIE ANN.

8/16/2024 MOTION FILED: S/R IN CAMERA PROTEC

8/16/2024 ORDER: JUDGE ORALLY GRANTED D/M DISCOVERY

8/16/2024 Defendant MITCHELL, ANTHONY CRAIG
Defense Counsel: PROSE
Interpreter: WAIVED
State: SIEGLER, KELSEY JACQUELINE
Court Reporter: MARY KA! BRANDENBURG
Judge Presiding: SUSAN BROWN
AT 11:45 AM COURT PUT MATTERS ON THE RECORD, DEFENDANT ANTHONTY CRAIG MITCHELL WAS
BROUGHT OUT IN FRONT OF JUDGE SUSAN BROWN. JUDGE SUSAN BROWN TO RULE ON MOTION ON
DISCOVERY. JUBGE BROWN GRANTED DEFENDANT'S MOTION ON DISCOVERY FOR STATE TO
PRESENT ALL DISCOVERY TC DEFENDANT.

8/19/2024

8/19/2024

8/19/2024

Defendant MITCHELL, ANTHONY CRAIG appeared with counsel MUNIZ, MARJORIE ANN.

8/19/2024

MOTION FILED; PROSE MTN DISMISS

8/19/2024

MOTION FILED: PROSE RECUSE JUDGE

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8/23/2024 11:32:14 AM

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Harris County Criminal District Docket Sheet

8/19/2024 Day 1:

Defendant: Mitchell, Anthony Craig
Defense Counsel: Mitchell, Anthony Craig
Defense Counsel: Muniz, Majorie Anna
Interpreter: N/A

State: Siegler, Kelsey

State: Batchelor, Brett

Court Reporter: Louella Badipour

Judge Presiding: Jim Anderson

At 10:24 AM Court put matters on the record and ail parties are present. Judge will sentence the defendant if the
defendant is found guilty since the defendant has not filed an election of punishment. The defendant is
representing himself and sub counsel can only advise defendant on the procedure. Judge will hold for strikes for
cause at the end of voir dire. State offered 8 year TDCJ which then the defendant rejected offer.

At 10:41am Court came to order for trial. A panel of 65 prospective jurors was seated, welcomed and instructed
as to the law.

At 11:39am Court recessed for a short break.

At 12:01pm State's voir dire began.

Alt 12:39pm Defense's voir dire began.

At 12:45pm strikes for cause & agreements were heard at the bench.

At 12:59pm Defense made no strikes.

At 1:03pm State made their strikes.

Judge ordered Jury not to keep their Juror Cards.

At 1:10pm a jury was impaneled and admonished to return on 8/20/2024 at 10:15am.
The remaining members of the panel were then excused from any further duties.

Court then recessed for the day.

Judge offers 9 year TDC which is objected by defense.

At
8/19/2024 ORDER: S/R IN CAMERA PROTECTIVE GRANTED
8/19/2024 JURY EXAMINED ON VOIR DIRE
8/20/2024
8/20/2024

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8/29/2024 11:32:14 AM

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Harris County Criminal District Docket Sheet

8/20/2024

Day 2:

Defendant: Mitchell, Anthony Craig Defense Counsel: Mitchell, Anthony Craig STAND BY Counsel: Muniz,
Majorie Anna Interpreter: N/A State: Siegler, Kelsey State: Batchelor, Brett Court Reporter: Louella Badipour
Judge Presiding: James Shoemake

At 11:16am Court came to order for trial. All parties are present. The judge swears in the defendant and begins a
Faretta hearing to determine if defendant can represent himself,

AT 11:17am Judge begins asking Mitchell, Anthony Craig questions
At 11:39am Judge finds the defendant is competent to represent himself.
At 11:45am Court is in recess.

AT 12:12 P.M. COURT CAME TO ORDER ALL PARTIES PRESENT; DISCUSSIONS WERE HEARD

JUDGE HAS ORDERDED DEFENDANT TO GET FINGERPRINTED, JUDGE CONTINUES DISCUSSION

AT 12:19 P.M. STAND BY COUNSEL BEGINS DISCUSSION

AT 12:20 P.M. STATE BEGINS DISCUSSION

AT 12:21 P.M. JUDGE CONTINUES DISCUSSION, JUDGE HAS GIVEN A NEW COURT DATE OF
SEPTEMBER 23, 2024 FOR TO SELECT A JURY TRIAL

AT 12:28 JUDGE HAS ORDERD DEFENDANT TO RETURN ON 08/30/2024 WITH ATTORNEY PRESENT TO
COME IN WITH A HIRED ATTORNEY

AT 12:32 P.M. JURY IS AT LUNCH AND ARE DISMISSED FROM FURTHER SERVICES

8/20/2024

Defendant MITCHELL, ANTHONY CRAIG appeared with counsel MUNIZ, MARJORIE ANN. Defendant was
LATE: 3rd occurance.

8/20/2024

MOTION FILED: WITHDRAW ATTORNEY

8/20/2024

ORDER: WITHDRAW ATTORNEY GRANTED

8/21/2024

Voucher #638736 approved , Voucher Signed

8/21/2024

ORDER: ATTORNEY FEE VOUCHER
FEE AMOUNT: $1,775

ViPS Voucher ID: 638736

SNU: 985

8/29/2024

8/29/2024

8/29/2024

Defendant MITCHELL, ANTHONY CRAIG appeared without counsel

8/30/2024

9/23/2024

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8/29/2024 11:32:14 AM

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Filed 23 October 11 P10:00
Marilyn Burgess - District Clerk

Harris County
EA001_1915277

By: J FRIESEN
Pgs-5
Cause No. 1817970
OTPOLA
STATE OF TEXAS § IN THE 178TH (994)
Vv. § DISTRICT COURT
MITCHELL, ANTHONY CRAIG § OF HARRIS COUNTY, TEXAS

STATE’S MOTION FOR PROTECTIVE ORDER

THE STATE OF TEXAS, by and through its Assistant District Attorney, requests that
the Court issue a Protective Order concerning confidential information that the State is tendering
to defense counsel pursuant to the State’s Disclosure Notice, to-wit:

The confidential information provided to the defense by disclosure letter notice
regarding witness ISRAEL GONZALEZ on 10/11/2023.

For good cause, the State makes a good faith assertion that the listed information is
privileged and confidential to persons unless ruled discoverable under Brady and TEX. CODE

CRIM. PROC. art. 39.14(h) & (k).

Respectfully submitted,

/s/ Michael Haddad

MICHAEL HADDAD

Assistant District Attorney

Harris County District Attorney’s Office
TBC No.
Certified Document Number: 110761563 - Page 2 of 5

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CERTIFICATE OF SERVICE

I, the undersigned attorney, hereby certify that a true and correct copy of the foregoing
motion was e-mailed/faxed/hand delivered in court to Defense Counsel on 10/11/2023,

/s/ Michael Haddad

MICHAEL HADDAD
Assistant District Attorney

DEFENSE ACKNOWLEDGMENT OF RECEIPT IF NOTICE DELIVERED BY HAND

Defense Attorney of Record Date

2
NO. 1817970 IN THE 178TH
STATE'S MOTION FOR PROTECTIVE ORDER DISTRICT COURT
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Cause No. 1817970

STATE OF TEXAS § INTHE 178TH

V. § DISTRICT COURT

MITCHELL, ANTHONY CRAIG § OF HARRIS COUNTY, TEXAS
PROTECTIVE ORDER

Having considered the State’s Motion for Protective Order and defense counsel’s
response, if any, the Court GRANTS the State’s Motion for Protective Order and ORDERS that
the following confidential information, being tendered to defense counsel pursuant to TEX. CODE
CRIM. Proc. art. 39.14 and/or Brady v. Maryland, 373 U.S. 83 (1963), is protected by this
Court’s Protective Order and the provisions of such order, to-wit:

The confidential information provided to the defense by Disclosure Letter Notice
regarding witness ISRAEL GONZALEZ on 10/11/2023.

I.

The Court ORDERS that defense counsel shall use the information subject to the instant
Protective Order solely for the purpose of resolving the above-styled case, and defense counsel
shall not disseminate or make the above-listed information available in any form to any person
other than those persons described below.

Il.

The Court further ORDERS that the following prohibitions apply to defense counsel and
also to any person or entity that recetves such information from defense counsel either by lawful
or unlawful means:

1. Under no circumstances shal! the Confidential Information either orally or in written

form be stored into or communicated to any computer, website, database, list serve, email or
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listed manually in any form. This prohibition does not apply to storage of the Confidential
Information in any computer program or case file maintained specifically by those enumerated in
section 2(a) — 2(d) below.
2. Defense counsel’s disclosure of the Confidential Information shall be limited to the
personnel and/or classification of the following persons:
a. counsel for any party to this action;

b. staff personnel employed by counsel for any party or by the
District Attorney’s Office;

c. the Court and its personnel, in connection to the instant case;

d. experts or consultants retained in preparation for the trial in this
case; and,

€. pursuant to TEX. CODE CRIM. PROC. art. 39.14(f), the defendant,
a witness, or prospective witness viewing such Confidential
Information.

3. Defense counsel shall redact the address, telephone number, driver’s license number,
social security number, date of birth, bank account number, or any other identifying numbers
from the Confidential Information before allowing the defendant, a witness, or a prospective
witness to view the Confidential Information. TEX. CODE CRIM. PROC. art. 39,14 (f).

4. Defense counsel shall not provide a copy of the Confidential Information to the
defendant, a witness, or a prospective witness. TEX. CODE CRIM. PROC. art. 39.14 (f).

5. Defense counsel, prior to disclosure of the Confidential Information, shall advise those
individuals to whom disclosure will be made of the provisions of this Protective Order, and
defense counsel shall obtain the agreement of such individuals that they will be bound by the

terms of this Protective Order. Defense counsel shall not disclose this Confidential Information

to any individual who does not agree to be bound by this Protective Order.

NO. 817970 IN THE 178TH
PROTECTIVE ORDER DISTRICT COURT
Certified Document Number: 110761563 - Page 5 of 5

Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD Page 13 of 69

6. Persons and entities who receive any Confidential Information released to defense
counsel pursuant to this Protective Order shall not further disseminate such Confidential
Information and shall not refer to such Confidential Information in any court proceeding in any
case other than the instant case, except under further order of this Court.

7. All copies of any Confidential Information shall be subject to the terms of this
Protective Order,

8. This Protective Order, and the obligation of all persons hereunder, including those
relating to the disclosure and use of the Confidential Information, shall not terminate at the
conclusion of this case but shall remain in full force and effect. This court will retain jurisdiction
to enforce this order even after the initial matters in this litigation have been terminated by
dismissal or judgment.

9, Nothing in this Order is intended to prevent authorized individuals from having access
to the Confidential Information to which they would have had access in the normal course of
their duties.

Il.
The Court finds that violation of this Protective Order may subject defense counsel to

prosecution for contempt of court, pursuant to TEX. GOV’T CODE 21.002.

Signed this day of , 20
Signed: Vi begteng—
10/12/2023
JUDGE PRESIDING
3
NO, 1817970 IN THE 178TH
PROTECTIVE ORDER DISTRICT COURT
Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD Page 14 of 69

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I, Marilyn Burgess, District Clerk of Harms
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witness my official hand and seal of office
this August 30. 7024

Certified Document Number: 110761563

air Buys

Marilyn Burgess, DISTRICT CLERK
HARRIS COUNTY, TEXAS

In accordance with Texas Government Code 51.301 and 406.013 electronically transmitted

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documents are valid. If there is a question regarding the validity of this document and or seal

please e-mail support@bhcdistrictclerk.com
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Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD Page 15 of 69

44/10/2023 5:16 PM
Marilyn Burgess - District Clerk Haris County
Envelope No, 61536927

By: J Friesen

Filed: 11/10/2023 5:16 PM

CAUSE NO. 1817970

THE STATE OF TEXAS § IN THE DISTRICT COURT OF
§

VS. § HARRIS COUNTY, TEXAS
§

ANTHONY CRAIG MITCHELL § 178th JUDICIAL DISTRICT

MOTION FOR DISCLOSURE OF EXPERT WITNESSES
PURSUANT TO ART, 39.14(b), TEX. CODE CRIM. P.

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, ANTHONY CRAIG MITCHELL, in the above-styled and referenced
cause, by and through their attorney of record, and moves the Court to order the State to provide
counsel with the name and address of each person it may use at trial to present evidence under
Tex. R. Evid. 702 [Testimony by Experts], Tex. R. Evid. 703 [Bases of Opinion Testimony by
Experts] and Tex. R. Evid. 705 [Disclosure of Facts or Data Underlying Expert Opinion].

Defendant further requests that said disclosure be provided notice to undersigned counsel,
no later than ten (10) days prior to the date set for jury trial.

WHEREFORE PREMISES CONSIDERED, Defendant prays the Court will grant this

Motion and enter its Order accordingly.

Respectfully submitted,

/s/ Maverick J. Ray
MAVERICK J. RAY
SBN: 24080451

811 W. 24" St.

Houston, Texas 77008
Telephone: (281) 947-2007
Facsimile: (713) 714-2225

Attorney for Defendant,
ANTHONY CRAIG MITCHELL

Page 1 of 3
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CERTIFICATE OF SERVICE

Thereby certify that a true and correct copy of the above and foregoing Motion was served
electronically via efiletexas.gov to the Assistant District Attorney handling this case in the 178th

District Court, Harris County, Texas on this the 10th day of NOVEMBER 2023.

/s/ Maverick J. Ray
MAVERICK J. RAY

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Certified Document Number: 111305703 - Page 3 of 4

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CAUSE NO. 1817970

THE STATE OF TEXAS § IN THE DISTRICT COURT OF

VS. : HARRIS COUNTY, TEXAS

ANTHONY CRAIG MITCHELL 178th JUDICIAL DISTRICT
ORDER

On this day came on to be heard the Defendant's Motion for Disclosure of Expert
Witnesses, and the court having heard and considered the evidence and arguments of counsel

thereon, said Motion is hereby:

GRANTED DENIED
SIGNED AND ENTERED on this the day of ,20.—«
JUDGE PRESIDING

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Certified Document Number: 111305703 - Page 4 of 4

Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD Page 18 of 69

Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Maverick Ray on behalf of Maverick Ray

Bar No. 24080451

Adriana@Maverickraylaw.com

Envelope ID: 81536927

Filing Code Description: Motion

Filing Description: MOTION FOR DISCLOSURE OF EXPERT
WITNESSES PURSUANT TO ART. 39.14(b), TEX. CODE CRIM. P.
Status as of 11/13/2023 11:37 AM CST

Case Contacts

Name BarNumber | Email TimestampSubmitted

Status

Michael Haddad HADDAD_MICHAEL@DAO.HCTX.NET | 11/10/2023 5:16:42 PM

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I, Manlyn Burgess, District Clerk of Harris
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witness mv official hand and seal of office
this August 30. 2024

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Marlyn Burgess, DISTRICT CLERK
HARRIS COUNTY, TEXAS

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Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD Page 20 of 69

11/10/2023 5:16 PM

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Envelope No. 81536927

By: J Friesen

Filed: 11/10/2023 5:16 PM

CAUSE NO. 1817970

THE STATE OF TEXAS § IN THE DISTRICT COURT OF
§

VS. § HARRIS COUNTY, TEXAS
§

ANTHONY CRAIG MITCHELL § 178th JUDICIAL DISTRICT

DEFENDANT’S MOTION IN LIMINE REGARDING EXTRANEOUS OFFENSES

TO THE HONORBALE JUDGE OF SAID COURT:

NOW COMES, ANTHONY CRAIG MITCHELL, Defendant, by and through undersigned
counsel, and moves prior to jury selection in the above styled cause for the Court to direct the State
of Texas, and all witnesses called by the State, not to mention, refer to, interrogate concerning, or
otherwise bring to the attention of the jury in any manner any of the following matters without first
approaching the bench and obtaining a ruling on its admissibility. This motion is made for the
reason that the mere mention of such matters ts improper and will harm and prejudice the right of
Defendant to a fair trial and that the harm a prejudiced created thereby cannot be cured by an
instruction to disregard, The Defendant requests as follows:

1. That prior to the prosecution's attempt to admit any evidence of an extraneous offense
(whether or not resulting in a final conviction), misconduct or bad act, admitted during either the
State's case-in-chief, rebuttal, or during the punishment phase of trial, the State advise the court
outside the presence of its intent outside the hearing of the jury.

2. That prior to the introduction of any aforesaid extraneous offenses, misconduct, bad acts
and the like, this Court conduct a hearing outside the presence of the jury, pursuant to Tex. R.
Evid. Rule 104(c) to determine the following:

a. Whether the prosecution has provided adequate prior notice of said evidence to the

defense pursuant to Tex. R. Evid. 404(b) and 609(f) and Tex. Code Crim. Proc. Art. 37.07,

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Sec. 3(g); and,

b. Whether the prosecution is able to demonstrate by “clear evidence”, e.g., beyond a

reasonable doubt that an extraneous offense has, in fact, been committed, and that the

Defendant committed said act. Burks v. State, 876 8.W.2d 877, 909 (Tex. Crim. App.

1994) and, Harrell v. State, 884 S.W.2d 154, 158 (Tex.Crim.App.1994)(equating clear

proof standard with beyond a reasonable doubt).

3. This Court is obliged to hold a preliminary hearing outside the presence of the jury to
make a threshold determination of the existence of, and connection of the defendant to, any
extraneous offenses which the prosecution seeks to admit. Mitchell v State, 931 S.W.2d 950, 954

(Tex.Crim.App. 1996), and Mann v. State, 13 S.W.3d 89, 94 (Tex. App.-Austin 2000).

Respectfully submitted,

/s/ Maverick J. Ray
MAVERICK J. RAY
SBN: 24080451

811 W. 24" St.

Houston, Texas 77008
Telephone: (281) 947-2007
Facsimile: (713) 714-2225

Attorney for Defendant,
ANTHONY CRAIG MITCHELL

CERTIFICATE OF SERVICE

Thereby certify that a true and correct copy of the above and foregoing Motion was served
electronically via efiletexas.gov to the Assistant District Attorney handling this case in the 178th
District Court, Harris County, Texas on this the 10th day of NOVEMBER 2023.

fs/ Maverick J. Ray
MAVERICK J. RAY

Page 2 of 3
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CAUSE NO. 1817970

THE STATE OF TEXAS § IN THE DISTRICT COURT OF

VS. HARRIS COUNTY, TEXAS

ANTHONY CRAIG MITCHELL 178th JUDICIAL DISTRICT
ORDER

CAME on this day for consideration by the Court, the Motion in Limine regarding
extraneous offenses. The Court, having considered the motion, the file of this case, the argument
of counsel, and any opposing pleading filed in response to the Motion for Limine, hereby finds
that the motion has merit with regard to the following requests (as numbered in the Defendant's’
motion):

With respect to those requests, the motion is GRANTED. The State of Texas, and all
witnesses called by the State, and their attorneys, are hereby directed and ORDERED not to
mention, refer to, interrogate concerning, or otherwise bring to the attention of the jury in any
manner any of the above matters without first approaching the bench and obtaining a ruling on
their admissibility. This motion is made for the reason that the mere mention of such matters is
improper and will harm and prejudice the right of Defendant to a fair trial; the harm a prejudiced

created thereby cannot be cured by an instruction to disregard. Tex. R. Crim. Evid, 403.

SIGNED AND ENTERED this day of , 20

JUDGE PRESIDING

Page 3 of 3
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Maverick Ray on behalf of Maverick Ray

Bar No. 24080451

Adriana@Maverickraylaw.com

Envelope ID: 81536927

Filing Code Description: Motion

Filing Description: MOTION FOR DISCLOSURE OF EXPERT
WITNESSES PURSUANT TO ART. 39.14(b), TEX. CODE CRIM. P.
Status as of 11/13/2023 11:37 AM CST

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I, Marilyn Burgess. District Clerk of Harris
County, Texas certify that this is a true and
correct copy of the orginal record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witness my official hand and seal of office
this August 30, 2024

Certified Document Number: 111305710

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Marilyn Burgess, DISTRICT CLERK
HARRIS COUNTY, TEXAS

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By: J Friesen

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CAUSE NO, 1817970

THE STATE OF TEXAS § IN THE DISTRICT COURT OF
§

VS. § HARRIS COUNTY, TEXAS
§

ANTHONY CRAIG MITCHELL § 178th JUDICIAL DISTRICT

MOTION FOR THEUS HEARING
TO THE HONORABLE JUDGE OF SAID COURT:

Comes now, ANTHONY CRAIG MITCHELL, the Defendant, through the undersigned
lawyer, and files this motion for a Thezs hearing and would show as follows:

1. Theus v. State, 845 §.W.2d 874 (Tex. Crim. App. 1993) requires the trial court to consider the
factors set forth in Zeus before permitting impeachment of a witness with prior convictions as
permitted under Rule 609. These factors are:

(1) impeachment value of the prior crime — the impeachment value of crimes involving
deception is higher than crimes involving violence as the latter have a higher potential for
prejudice;

(2) temporal proximity between the prior and present offense -- a recent conviction
demonstrates a propensity for law-breaking and weighs in favor of admission;

(3) the similarity between the two offenses -- similarity militates against admission;

(4) the importance of the Defendant’s testimony; and

(5) the importance of the credibility issue -- this escalates when the case involves the
testimony of only the Accused and the State’s witnesses.

WHEREFORE, PREMISES CONSIDERED, Defendant prays that the Court grant this
motion in all things and furnish a court reporter to make a record in the captioned cause as prayed

for herein.

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Respectfully submitted,

/s/ Maverick J. Ray
MAVERICK J. RAY
SBN: 24080451

811 W. 24" St.

Houston, Texas 77008
Telephone: (281) 947-2007
Facsimile: (713) 714-2225

Attorney for Defendant,
ANTHONY CRAIG MITCHELL

CERTIFICATE OF SERVICE

[hereby certify that a true and correct copy of the above and foregoing Motion was served
electronically via efiletexas.gov to the Assistant District Attomey handling this case in the 178th
District Court, Harris County, Texas on this the 10th day of NOVEMBER 2023.

/sf Maverick J. Ray
MAVERICK J. RAY

Page 2 of 3
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CAUSE NO. 1817970

THE STATE OF TEXAS § IN THE DISTRICT COURT OF
VS. HARRIS COUNTY, TEXAS
ANTHONY CRAIG MITCHELL 178th JUDICIAL DISTRICT
ORDER
Onthis the  _ day of ,20 _, came on to be heard the

Defendant’s Theus Motion and the Court after conducting a hearing and considering the factors

set forth in 7Aews rule that the following convictions are inadmissible:

and the following convictions are admissible:

JUDGE PRESIDING

Page 3 of 3
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Maverick Ray on behalf of Maverick Ray

Bar No. 24080451

Adriana@Maverickraylaw.com

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Filing Description: MOTION FOR DISCLOSURE OF EXPERT
WITNESSES PURSUANT TO ART. 39.14(b), TEX. CODE CRIM. P.
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I, Marilyn Burgess, District Clerk of Harris
County, Texas certify that this is a tme and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witness my official hand and seal of office
this August 30. 2024

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Marilyn Burgess, DISTRICT CLERK.
HARRIS COUNTY, TEXAS

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By: J Friesen

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CAUSE NO. 1817970

THE STATE OF TEXAS § IN THE DISTRICT COURT OF
§

VS. § HARRIS COUNTY, TEXAS
§

ANTHONY CRAIG MITCHELL § 178th JUDICIAL DISTRICT

DEFENDANT'S MOTION IN LIMINE
TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, ANTHONY CRAIG MITCHELL, the Defendant in the above entitled and
numbered cause, and files this Motion in Limine prior to the commencement of trial pursuant to

Tex. R. Evid. Rule 103 and requests a hearing hereon prior to the voir dire examination of the jury.

I. Alleged Prior Convictions of the Defendant and Defense Witnesses

Defendant respectfully requests that the Court order the District Attorney not to mention,
refer to, or attempt to elicit in any manner, any evidence of prior convictions of the Defendant or
defense witnesses in the trial of this cause in the presence of the jury until a hearing has been held

outside the presence of the jury to determine the following:

1. Whether the conviction involves either a felony or a misdemeanor involving moral
turpitude;

2. Whether the Defendant or witness is the same person so previously convicted;

3. Whether the prior conviction is a "final conviction", and no direct appeal therefrom is
pending in the State or Federal Appellate Court;

4. Whether the prior conviction resulted in the probation of a sentence which was previously
discharged;

5. Whether the prior conviction was obtained at a time when the Defendant was indigent and
without counsel and in the absence of an effective waiver of counsel;

6. Whether the State has complied fully with Defendant's request(s) pursuant to Rule 609(f),
Texas Rules of Criminal Evidence.

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7. Whether the prejudicial effect of impeachment substantially outweighs probative relevance
of the prior conviction to the issue of the witness' credibility. Defendant requests the Court
to consider the five factors set out in Theus v. State, 845 §.W.2d 874 (Tex. Crim. App.
1992)(en banc):

a. the impeachment value of the prior crime;

b. the temporal proximity of the past crime;

c. the similarity of the past crime and the offense being prosecuted (where applicable);
d. the importance of the witnesses! testimony; and

e. the importance of the credibility issue.

WHEREFORE, PREMISES CONSIDERED, it is respectfully requested that the Court
order the District Attorney not to mention or allude to Defendant's or defense witnesses’ prior
convictions or any alleged violations of the law in any manner in the presence of the jury until a
hearing has been held outside the presence of the jury and before the court to determine the relevant
factors regarding prior convictions as set forth above.

IL. Statements of the Defendant

Defendant respectfully requests that the Court order the District Attorney not to mention,
refer to, or attempt to elicit in any manner, any statements of Defendant in the trial of this cause in
the presence of the jury until a hearing has been held outside the presence of the jury to determine

the following:

1. Whether the statement is inadmissible under Tex. Code Crim. Pro. Ann. Art. 38.22.
2. Whether the statement is admissible as res gestae of the offense.

3. Whether the statement is inadmissible as taken in derogation of the right to counsel
pursuant to Miranda v. Arizona, 384 U.S. 436, 86 S, Ct. 1602, 16 L.Ed.2d 694 (1966);
Edwards v. Arizona, 451 U.S. 477, 101 S. Ct. 1880, 68 L.Ed.2d 378 (1981); and Minnick
v. Mississippi, 111 8. Ct. 486 (1990).

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4. Whether Defendant was mentally competent at the time of the making of the statement.
5. Whether the statement was extracted from Defendant by promises, fraud, or threats.

6. Whether the prejudice resulting from the admission of the statement substantially
outweighs the probative value thereof, Rule 403, Tex. R. Evid.

WHEREFORE, PREMISES CONSIDERED, it is respectfully requested that the Court
order the District Attorney not to mention, refer to or attempt to elicit in any manner, any
statements of Defendant in the presence of the jury until a hearing has been held outstde the
presence of the jury and before the court to determine the relevant factors regarding any statements
of Defendant as set forth above.

Il, Extraneous Unadjudicated Offenses

Defendant respectfully requests that the Court order the District Attomey not to mention,
refer to, or attempt to elicit in any manner, any evidence of any alleged unadjudicated extraneous
crimes, offenses, bad acts, or violations of the law by Defendant in the trial of this cause in the
presence of the jury until a hearing has been held outside the presence of the jury to determine the
following:

1. Whether the alleged extraneous offense has relevance apart from character, Tex. R. Evid.

Rules 401, 404; Montgomery v. State, 810 §.W.2d 372 (Tex. Crim. App. 1990)(en banc).

2. Whether the alleged extraneous offense occurred at a time so remote as to have no
relevancy in the instant case.

3. Whether Defendant is the same person as is the perpetrator of the alleged extraneous
offense.

5. Whether the alleged extraneous offense is admissible to prove motive, opportunity, intent,
preparation, plan, knowledge, identity, or absence of mistake or accident.

6. Whether the prejudicial effect of the admission of the alleged extraneous offense

substantially outweighs the probative value thereof, Tex. R. Evid. Rule 403; Montgomery
v. State, 810 S.W.2d 372 (Tex. Crim. App. 1990}(en banc).

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7. Whether the State has fully complied with Defendant's request pursuant to Rule 404 (b),
Texas Rules of Criminal Evidence.

WHEREFORE, PREMISES CONSIDERED, it is respectfully requested that the Court
order the District Attorney not to mention, refer to or attempt to elicit in any manner, any evidence
of alleged extraneous offenses in the presence of the jury until a hearing has been held outside the
presence of the jury and before the court to determine the relevant factors regarding alleged
extraneous offenses of the Defendant as set forth above.

IV. Arrests not Resulting in Admissible Final Convictions

Defendant respectfully requests that the Court order the District Attorney not to mention,
refer to, or attempt to elicit in any manner, any evidence of arrests of Defendant or defense
witnesses which did not result in admissible convictions in the trial of this cause in the presence
of the jury until a hearing has been held outside the presence of the jury to determine the
admissibility thereof. See Gonzalez v. State, 685 S.W.2d 147 (Tex. Crim. App. 1985), cert. den.,
472 US. 1009,

WHEREFORE, PREMISES CONSIDERED, it is respectfully requested that the Court
order the District Attorney not to mention, refer to or attempt to elicit in any manner, any evidence
of arrests which did not result in admissible prior convictions, in the presence of the jury until a
hearing has been held outside the presence of the jury and before the court to determine the
admissibility of same.

V. Identification of the Accused

Defendant respectfully requests that the Court order the District Attorney not to mention,
refer to, or attempt to elicit in any manner, any evidence of identification of defendant, whether in
court or out of court, in the presence of the jury until a hearing has been held outside the presence

of the jury to determine the following:

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1, Whether the witness offering such testimony has personal knowledge of such facts.

2. Whether the circumstances surrounding such identification provide sufficient indicia of
reliability.

3. Whether Defendant was afforded counsel under U.S. Const. Amends. VI and XTV,

4. Whether Defendant intelligently, knowingly and voluntarily waived counsel at such
identification.

5. Whether such identification procedure violates Defendant's right of confrontation of

witnesses under U.S. Const. Amends. VI and XIV, Tex. Const. Ann. Art. I, Sec. 10, and
Tex. Cade Crim. Pro. Ann. Art. 1.05.

6, Whether such identification procedure was unnecessarily suggestive.

WHEREFORE, PREMISES CONSIDERED, Defendant respectfully requests that the
Court order the District Attorney not to mention, refer to, or elicit in any manner, any evidence of
identification of Defendant in the presence of the jury until a hearing has been held outside the
presence of the jury to determine the relevant factors concerning identification of Defendant as set
forth above.

VI. Post-Arrest Silence of the Accused

Defendant respectfully requests that the Court order the District Attomey not to mention,
refer to, or attempt to elicit in any manner, any evidence of post-arrest silence by Defendant or
defense witnesses, in the trial of this cause in the presence of the jury until a hearing has been held
outside the presence of the jury to determine the admissibility thereof. Defendant would show that
his post-arrest silence may not be used against him in his trial, Sanchez v. State, 707 S.W.2d 575
(Tex. Crim. App. 1986); Turner v. State, 719 S.W.2d 190 (Tex. Crim. App. 1986); Doyle v. Ohio,

426 U.S. 610 (1976).

WHEREFORE, PREMISES CONSIDERED, it is respectfully requested that the Court

orde7r the District Attorney not to mention, refer to or attempt to elicit in any manner, any evidence

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of post-arrest silence by Defendant or defense witnesses, in the presence of the jury until a hearing
has been held outside the presence of the jury and before the court to determine the admissibility
of same.

VII. Conversations of the Accused with his Attorney

Defendant respectfully requests that the Court order the District Attomey not to mention,
refer to, or attempt to elicitin any manner, any evidence of Defendant's conversations with counsel,
in the trial of this cause in the presence of the jury until a hearing has been held outside the presence
of the jury to determine the admissibility thereof. Inquiring as to Defendant's conversations with
his attorney violates the attorney-client privilege, Womack v. State, 834 S.W.2d 545 (Tex. App.--
Houston [14th Dist.] 1992, no pet.); Tex. R. Evid. Rule 503(b).

WHEREFORE, PREMISES CONSIDERED, it is respectfully requested that the Court
order the District Attorney not to mention, refer to or attempt to elicit in any manner, any evidence
of Defendant's conversations with his attorney in the presence of the jury until a hearing has been
held outside the presence of the jury and before the court to determine the admissibility of same.

VUI. Alias Names of the Defendant

Defendant respectfully requests that the Court order the District Attorney not to mention,
refer to, or attempt to elicit in any manner, any evidence that Defendant is known by names other
than that stated in the indictment herein in the trial of this cause in the presence of the jury until a

hearing has been held outside the presence of the jury to determine the following:

1. Whether the witness offering such testimony has personal knowledge of such facts.

2. Whether such testimony has relevance apart from mere character conformity, Tex. R. Evid.
Rules 401, 403, 404.

3, Whether the inherent prejudice substantially outweighs the probative value, if any there be,
Tex. R. Evid. Rule 403,

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WHEREFORE, PREMISES CONSIDERED, Defendant respectfully requests that the
Court order the District Attorney not to mention, refer to, or elicit in any manner, any evidence of
alleged alias names of the Defendant in the presence of the jury until a hearing has been held
outside the presence of the jury to determine the relevant factors as set forth above.

IX. Pleas and Plea Discussions

Defendant respectfully requests that the Court order the District Attorney not to mention,
refer to, or attempt to elicit in any manner, any evidence that Defendant entered a plea of guilfy or
no contest which was later withdrawn, or any plea-bargaining discussions or negotiations in the
trial of this cause in the presence of the jury until a hearing has been held outside the presence of

the jury to determine the admissibility thereof, Tex. R. Evid. Rule 410.

WHEREFORE, PREMISES CONSIDERED, Defendant respectfully requests that the
Court order the District Attorney not to mention, refer to, or elicit in any manner, any evidence
that Defendant entered a plea of guilty or no contest which was later withdrawn, or any plea-
bargaining discussions or negotiations in the presence of the jury until a hearing has been held
outside the presence of the jury to determine the admissibility thereof.

X. Expert Witnesses and Scientific Evidence

Defendant respectfully requests that the Court order the District Attorney not to mention,
tefer to, or attempt to elicit in any manner or otherwise use before the jury, any expert testimony
or scientific evidence in the trial of this cause in the presence of the jury until a hearing has been

held outside the presence of the jury to determine the admissibility thereof.

Expert testimony and scientific evidence is governed by Tex. R. Evid. Rule 702. In Kelly
vy. State, 824 S.W.2d 568 (Tex. Crim. App. 1992), the Court established three factors for
admissibility of such evidence: (1) the validity of the underlying scientific theory, (2) the validity

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of the technique for applying the theory, and (3) that the technique was properly applied in the
case on trial. See also Daubert v. Merrel Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993); EL. du

Pont de Nemours & Co. vs. Robinson, 923 §.W.2d 549 (Tex. 1995).

WHEREFORE, PREMISES CONSIDERED, Defendant respectfully requests that the
Court order the District Attorney not to mention, refer to, or elicit in any manner, any expert
testimony or scientific evidence in the presence of the jury until a hearing has been held outside
the presence of the jury to determine the admissibility thereof.

XJ. Reports or Statements of State Witnesses

Defendant respectfully requests that the Court order the District Attorney not to mention,
refer to, or attempt to elicit in any manner or otherwise use before the jury, any written report or
statement of any State witness, nor to suggest in any manner that such document ought to be
offered in evidence by either party, until a hearing has been held outside the presence of the jury
to determine the admissibility thereof. For cause, Defendant would show that an offer of such
documents by the attorney for the State would substantially prejudice the rights of the Defendant.
Defendant desires to obviate the need to object in the presence of the jury to such offer.

WHEREFORE, PREMISES CONSIDERED, the prosecutor should be instructed to
approach the bench outside the presence of the jury to request a hearing on the admissibility of any
such document,

XJ. Referring to a Complaining Witness as a Victim

Defendant respectfully requests that the Court order the District Attorney not to mention,
refer to, or attempt to elicit in any manner or otherwise use before the jury, that the complaining
witness is a victim, nor to suggest in any manner that such witness is a victim, until a hearing has

been held outside the presence of the jury to determine the admissibility thereof. For cause,

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Defendant would show that an offer of evidence by the attorney for the State would substantially
prejudice the rights of the Defendant. Defendant desires to obviate the need to object in the
presence of the jury to such offer.

WHEREFORE, PREMISES CONSIDERED, the prosecutor should be instructed to
approach the bench outside the presence of the jury to request a hearing on the admissibility of any
evidence.

XI. Referring to a Complaining Witness as a Victim.

Defendant respectfully requests that the Court order the District Attorney not to mention,
refer to, or attempt to elicit in any manner or otherwise use before the jury, that the complaining
witness is a victim, nor to suggest in any manner that such witness is a victim, until a hearing has
been held outside the presence of the jury to determine the admissibility thereof. For cause,
Defendant would show that an offer of evidence by the attorney for the State would substantially
prejudice the rights of the Defendant. Defendant desires to obviate the need to object in the
presence of the jury to such offer.

WHEREFORE, PREMISES CONSIDERED, the prosecutor should be instructed to
approach the bench outside the presence of the jury to request a hearing on the admissibility of any
evidence.

XI. Evidence of Gang Affiliation

Defendant respectfully requests that the Court order the District Attomey not to mention,
refer to, or attempt to elicit in any manner or otherwise use before the jury, that the Defendant or
any Defense witnesses are in or affiliated or have markings that are gang related, nor to suggest in
any manner that the Defendant or any Defense witnesses are in or affiliated or have markings that

are gang related, until a hearing has been held outside the presence of the jury to determine the

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Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD Page 39 of 69

admissibility thereof. For cause, Defendant would show that an offer of evidence by the attomey
for the State would substantially prejudice the rights of the Defendant. Defendant desires to obviate
the need to object in the presence of the jury to such offer.

WHEREFORE, PREMISES CONSIDERED, the prosecutor should be instructed to
approach the bench outside the presence of the jury to request a hearing on the admissibility of any

evidence.

Respectfully submitted,

/S/ Maverick J. Ray
MAVERICK J. RAY
SBN: 24080451

811 W. 24" St.

Houston, Texas 77008
Telephone: (281) 947-2007
Facsimile: (713) 714-2225

Attorney for Defendant,
ANTHONY CRAIG MITCHELL
CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the above and foregoing Motion was served
electronically via efiletexas.gov to the Assistant District Attorney handling this case in the 178th
District Court, Harris County, Texas on this the 10th day of NOVEMBER 2023.

/s/ Maverick J. Ray
MAVERICK J. RAY

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CAUSE NO. 1817970

THE STATE OF TEXAS § IN THE DISTRICT COURT OF

VS. ; HARRIS COUNTY, TEXAS

ANTHONY CRAIG MITCHELL 178th JUDICIAL DISTRICT
ORDER

Upon the foregoing Defendant's Motion in Limine, it is hereby:
ORDERED that said Motion is in all things GRANTED as to sections

, and it is further

ORDERED that the attorney for the State not mention, refer to, or attempt to elicit any
evidence of such matters in the trial of the cause before first approaching the Court with his
intention to do the same, and it is further

ORDERED that the attorney for the State instruct his witnesses as to the terms of this order
in Limine, and it is further

ORDERED that all relief not granted herein is denied.

SIGNED this day of , 20

JUDGE PRESIDING

Page 11 of 11
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Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD Page 41 of 69

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Maverick Ray on behalf of Maverick Ray

Bar No. 24080451

Adriana@Maverickraylaw.com

Envelope ID: 81536927

Filing Code Description: Motion

Filing Description: MOTION FOR DISCLOSURE OF EXPERT
WITNESSES PURSUANT TO ART. 39.14(b), TEX. CODE CRIM. P.
Status as of 11/13/2023 11:37 AM CST

Case Contacts

Name BarNumber | Email TimestampSubmitted

Status

Michael Haddad HADDAD_MICHAEL@DAQ.HCTX.NET | 11/10/2023 5:16:42 PM

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I, Marilyn Burgess, District Clerk of Harris
County, Texas certify that this is a tue and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, 25 it appears on this date.

Witness my official hand and seal of office
this August 30. 2024

Certified Document Number: 111305715

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Marilyn Burgess, DISTRICT CLERK
HARRIS COUNTY, TEXAS

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11/10/2023 5:16 PM

Marilyn Burgess - District Clerk Harris County
Envelope No. 81536927

By: J Friesen

Filed: 11/10/2023 5:16 PM

CAUSE NO. 1817970

THE STATE OF TEXAS § IN THE DISTRICT COURT OF
§

VS. § HARRIS COUNTY, TEXAS
§

ANTHONY CRAIG MITCHELL § 178th JUDICIAL DISTRICT

DEFENDANT’S MOTION TO SUPPRESS
TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, Defendant, by and through undersigned counsel, and respectfully moves
this Honorable Court to hold a hearing on this Motion prior to trial and outside the presence of the
jury and thereafter suppress any and all evidence seized or obtained as a result of illegal acts on
behalf of the State in this criminal prosecution that violated the Defendant’s rights as guaranteed
under both the federal and state constitutions and under state statutes. In support thereof, the

Accused would show:

I.

The requested hearing is required by the Texas Code of Criminal Procedure. Tex. Code
Crim. Proc, arts. 28.01 (6) and 38.22 (6).

IL.

A hearing outside the presence of the jury is necessary in order to keep the jury from being
prejudiced by inadmissible evidence. Such prejudice would result in the Accused being denied a
right to a fair trial. U.S. Const. Amends. VI and XIV, 2; Tex. Const. art. 1, 10, 15, and 19; Tex.
Code Crim. Proc., arts. 1.04, 1 .05, and 1. 12; Jackson v. Denno, 378 U. 8. 363 (1964); Reed v.

State, 517 §.W. 2d 817 (Tex. Crim. App. 1975).

Page 1 of 8
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UL
A hearing is also necessary to adequately protect the Accused ‘s right to be free from
compulsory self-incrimination and to ensure that any evidence sought to be admitted is not the
fruit of primary illegality. U.S. Const. Amends. IV, V, and XIV 2; Tex. Const. art. 1, 9, 10, and
19: Tex. Code Crim. Proc. arts. 1.04, 1.05, 1.06,38.21, and 38.23: Wong Sun v. U.S., 371 US.
471 (1963).

IV.

Counsel for the Accused will not be able to effectively represent him without an
opportunity to test the admissibility of evidence that will be offered by the State.

Vy.

The State of Texas, as a governmental unit, has the burden of proving the lawfulness of a
warrantless search and seizure, Coolidge v. New Hampshire, 403 U.S. 443 (1971), and that any
alleged statements or acts of the Defendant that were the products of custodial interrogation meet
the requisites of Miranda v. Arizona, 384 U. 8. 436 (1966) and Article 38 .22, Tex. Code Crim.
Proc.

VI.
ILLEGAL DETENTION, SEARCH AND SEIZURE

The seizure of the Accused was made without any reasonable suspicion that he was
engaged in criminal activity. The acquisition of the evidence that will be offered by the
Government in this cause was not pursuant to a reasonable investigative detention, not pursuant to
an arrest warrant, was absent exigent circumstances, valid third-party consent, and made without

probable cause to believe the Accused was engaged in criminal activity.

Page 2 of 8
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Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD Page 45 of 69

VIL.

The acquisition of the evidence that the Government will offer in this cause was not
pursuant to a valid search warrant, was absent exigent circumstances, and made without probable
cause to believe the Accused was engaged in criminal activity or that such evidence, if any, was
in danger of being destroyed.

VIII.

Any statements and acts allegedly made by the Accused in connection with this detention,
search, and seizure, and any tangible or other evidence seized or acquired then, or at any later time
as a result of said statements or acts, are the products of the illegal detention, arrest, and search
and are therefore the direct result of illegal police procedures.

IX.
ILLEGAL CUSTODIAL INTERROGATION

Any statements allegedly attributed to the Accused were made as a result of illegal
custodial interrogation, without proper warning, Miranda v. Arizona, 384 U.S.436 (1966) and Art.
38.22 of the Texas Code of Criminal Procedure, and absent any public safety exception, New York
v. Quarles, 104 S. Ct. 2626 (1984).

The Defendant respectfully moves this Court to suppress the oral recorded statement of the
Defendant, all written statements of the Defendant reduced to writing, any and all videotaped
statements of the Defendant, and any and all oral statements, admissions or confessions of acts
amounting to statements alleged to have been made by the Defendant, and as grounds thereof, the
Defendant would show the following:

A.

1.) The statement of the Defendant was obtained by an illegal arrest, without probable
cause.

2.) There was no knowing and intelligent waiver of their rights to remain silent and to

Page 3 of 8
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Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD Page 46 of 69

counsel under the Fifth, Sixth, and Fourteenth amendments to the United States
Constitution, Article I, Section 10, Texas Constitution, and Article 1.05 and Article
38.22 of the Texas Code of Criminal Procedure.

3.) The statement of the Defendant was taken without a knowing, intelligent and full and
complete understanding of their rights, as required by Miranda, and Article 38.22 of
the Texas Code of Criminal Procedure.

4.) The statement of the Defendant was not freely and voluntarily made by the Defendant,
in that the officers to whom the statement was made used threat, force, misstatement,
deception and trickery to get the Defendant to make the statement, in that they used
physical violence or threats of physical violence against the Defendant to induce the

statement, and they implied to Defendant that making a statement would result in
leniency.

B.

A hearing is required to determine the voluntaries of the statement which the police claim
the Defendant voluntarily made to them. Art. 38.22, § 6, TEX. CRIM. PROC. The Defendant
respectfully prays that this Honorable Court hold a hearing under Jackson v. Denno, 78 U. S.
368, 84 S. Ct. 1774, 12 L Ed.2d 908 (1964) prior to trial and/or outside the presence of the jury
hearing the trial on the merits to determine the admissibility of the evidence sought to be
suppressed

C.

A hearing outside the presence of the jury is necessary to present the jury from being
prejudiced by inadmissible evidence, the admission of which would result in the denial of the
Defendant’s right to a fair trial, right to be free from compulsory self-incrimination, and right to
effective assistance of counsel. Article I, Sec. 10, 15, 19, Texas Constitution; Article 1.04,

1.05,1.12, 38.21, 38.22, 38.23, Texas Code of Criminal Procedure.

XI.
DENIAL OF COUNSEL

The Accused was not afforded meaningful access to counsel at a time when critical

decisions involving their constitutional and statutory rights were being made. U.S. v. Wade, 388

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Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD_ Page 47 of 69

U.S. 218 (1967). Any oral, written, or electronically recorded statements and acts allegedly made
by the Accused were improper as they were elicited through illegal police interrogation after the
Defendant had requested assistance of counsel. Edwards v. Arizona, 451 U.S. 477 (1981).

XIV.
NO CONSENT

The acquisition of the evidence that the State will offer in this cause was made without the

Accused ‘s consent and was made without the valid consent of any third party.

XV.

The Defendant did not intelligently, voluntarily, and knowingly consent to or authorize
anyone to consent to the warrantless entry upon and search by police of any business premises
and/or property,

XVI.

Because of the foregoing reasons and others that may be adduced upon a hearing of this
matter, the admission of the statements and acts of the Defendant and of the seized and derivative
evidence would violate the Accused ‘s statutory and constitutional guarantees against self-
incrimination, U.S. Const. Amends. IV, V, and XIV; Tex. Const. art. 1 9, 10; Tex. Code. Crim.
Proc. Arts. 1.05, 1 .06, 38 .21, 38. 22, and 38 .23, against unreasonable searches and seizures,
U.S. Const. Amend. IV; Tex. Const. art. 1§ 9; Tex. Code Crim. Proc. arts. 14 and 15; to effective
assistance of counsel, U.S. Const. Amend. VI; Tex. Const. art. 1 Section 10; to a fair trial, U.S.
Const, Amend. VI; Tex. Const. art. 1 section 10 and Tex. Code Crim. Proc. arts. 1 .27, 38.01, and

38 .02; and their statutory rights under Tex. Occupations Code Ann., chapter 1956,

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Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD Page 48 of 69

XVII.
REQUEST FOR FORMAL FACT FINDING

The Defendant specifically requests the Court make a fact finding on the arrest, search and
seizure of the evidence complained of in this motion and for any adverse ruling on Defendant ‘s

motion seeking the suppression of evidence.

WHEREFORE, PREMISES CONSIDERED, the Accused prays that this Motion be

granted and that the Court:

1. Instruct the prosecutor and all the State witnesses not to refer, testify, or in any manner
allude to oral or written statements allegedly made by the Accused until their
admissibility has been determined;

2. Make required findings of fact and law as required by statute and constitutional
authority before the submission of evidence to the jury; and

3. Order such other relief as may be deemed equitable a necessary.

Respectfully submitted,

éS/ Maverick J. Ray
MAVERICK J. RAY
SBN: 24080451

811 W. 24" St.

Houston, Texas 77008
Telephone: (281) 947-2007
Facsimile: (713) 714-2225

Attorney for Defendant,
ANTHONY CRAIG MITCHELL

Page 6 of 8
Certified Document Number: 111305716 - Page 7 of 9

Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD Page 49 of 69

CERTIFICATE OF SERVICE
Thereby certify that a true and correct copy of the above and foregoing Motion was served
electronically via efiletexas.gov to the Assistant District Attorney handling this case in the 178th
District Court, Harris County, Texas on this the 10th day of NOVEMBER 2023.

fs/ Maverick J. Ray
MAVERICK J. RAY

Page 7 of 8
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Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD Page 50 of 69

CAUSE NO. 1817970

THE STATE OF TEXAS § IN THE DISTRICT COURT OF

VS. HARRIS COUNTY, TEXAS

ANTHONY CRAIG MITCHELL 178th JUDICIAL DISTRICT
ORDER

On this day Defendant ‘s Motion to Suppress came on to be heard and having heard the
evidence and argument of counsel, it is the opinion of this Court that the Defendant’s Motion

should be and ts, hereby:

GRANTED.
DENIED, to which Defendant hereby accepts.

ENTERED this day of ;

JUDGE PRESIDING

Page 8 of 8
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Maverick Ray on behalf of Maverick Ray

Bar No. 24080451

Adriana@Maverickraylaw.com

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Filing Code Description: Motion

Filing Description: MOTION FOR DISCLOSURE OF EXPERT
WITNESSES PURSUANT TO ART. 39.14(b), TEX. CODE CRIM. P.
Status as of 11/13/2023 11:37 AM CST

Case Contacts

Name BarNumber | Email TimestampSubmitted

Status

Michael Haddad HADDAD_MICHAEL@DAO.HCTX.NET } 11/10/2023 5:16:42 PM

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I, Marilyn Burgess, District Clerk of Haris
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witess my official hand and seal of office
this August 30, 2024

Certified Document Number: 1413045716

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Marilyn Burgess, DISTRICT CLERE
HARRIS COUNTY, TEXAS

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IN THE 178th DISTRICT COURT By.
Harris County Texas — Benen
STATE OF Texas § CASE NO. 181797001010
ACCUSER §
§
§
V § Answer Prosecution
§ Motion In Limine
§
Mitchell, Anthony Craig §
ACCUSED §
Judge TBD
Answer to Prosecution Motion in Limine |
INTRODUCTION

- 3
The Accused within this matter is formally responding to the filed Motion in Limine by the prosecution as
follows:

1. Any past convictions of the Accused should not be allowed if the Accused does not actually
take the stand to which ones character may be impeached as required by law and Texas
statutes on cross examination as well as character evidence admissibility

2. The striking or requesting an undetermined notion of whether the accused is the actual
individual that an action has been settled upon or a witness is an open admission of lack of
actual evidence and should not be allowed by this court, and Is a clear admission of a malicious
prosecution and a Violation of due process

3. Same as above

4. Same as above

5, Same as-above

6. As to the current date of 3 April 2024, the State has yet to fully comply with the request of the
Accused as pursuant fo Texas Rules of Criminal Evidence and Discovery.

Remedy

The accused request this court grant the request of the accused to protect the appearance of a fair trail and
the protection of the Due process of law.

Respactfully Submitted

By; Ruthouy Cena Mechel
Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD Page 54 of 69

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I, Marilyn Burgess, District Clerk of Harris
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witness my official hand and seal of office
this August 30, 2024

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Marilyn Burgess, DISTRICT CLERK
HARRIS COUNTY, TEXAS

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Case 4:24-cv-03253 Document 1-1 . Filed on 08/30/24 in TXSD Page 55 of 69

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n APR 05 2024
IN THE 178th DISTRICT COURT NOs GS Yones
Harris County Texas _ By. ap
STATE OF Texas § CASE NO. 181797001010
ACCUSER §
§
S
V. § Answer Prosecution
§ Motion In Limine 5 March 2024 -
§
Mitchell, Anthony Craig §
ACCUSED §

Judge TBD

Answer to Prosecution Motion in Limine 5 March 2024

INTRODUCTION

The Accused within this matter is formally responding to the filed Motion in Limine by the prosecution as
follows: ‘

1. The accuse acknowledges tha prosecution has filed multipls Mations in Limine

2. The Accused acknowledges and concedes to not asking any question regarding moneys
eamed by an officer by testifying in court

3. The Accused acknowledges but does not consent to records or Intemal Investigation or criminal
complaints nor any police or attomey character evidence, also known in law as Giglio or Brady
List material, not being made available to the Accused as requested, and required.

4, The Accused acknowledges but dogs not consent to not speaking directly to the character of
any and all witnesses against him as allowed by law. Thus stating, If the state's witnesses
have history that is not favorable fo the state before a jury, the prosecution should as a matter
of law in the interest of justice, withdraw from this matter, and dismiss it res judicata forthwith.

Remedy

The accused request this court grant the request of the accused to protect the appearance of a fair trall and
the protection of the Due process of law.

Respectfully Submitted

By ‘ fethowy {tg Mtchel}
Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD Page 56 of 69

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[, Marilyn Burgess, District Clerk of Harms
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witness my official hand and seal of office
this August 30. 7004

Certified Document Number: 113757673

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Marilyn Burgess, DISTRICT CLERK
HARRIS COUNTY, TEXAS

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Case 4:24-cv-03253 Document 1-1 Filed oh 08/30/24 in TXSD Page 57 of 69 EN 14-985

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STATE OF TEXAS §
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Mitchell, Anthony Craig § Case No:181797001010
ACCUSED _§
MOTION TO COMPEL - VAUGHN MOTION
Complaint
|. INTRODUCTION

This |s to service as NOTICE that discovery has been requested previously on 6 March 2024 via certified
mail and was signed for as recalved and acknowledged more tian 30 days previous without being supplied
the requested information pertaining to the above noted afegaitons clted for

Texas Criminal Procedures Discovery requires as soon as possible after a request has been received that
the state shall produce and permit the Inspection and the electronic duplication, copying, and
photographing , by or on behaif of the defendant of any

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1) Offense reporis
2) Any designated documents

3) Papers

4) Whitten or recorded statements of defendant or witnesses / Including those made by law
enforcement

5) Designated books
6) Accounts
7) Evidence material to any Involvement In the action (Crime)

8) Witness information / including Officar Gigi information as It Is the officar’s signed affidavit
(Pofice Report) that the prosecutor within this matter Is using as evidence to bring these
CHARGES, the officer's personnel records, digcipEnary actions, civflan complaints, legal actions,
Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD Page 58 of 69

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I, Marlyn Burgess, District Clerk of Harris
County, Texas certify that this is a tue and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witmess my offictal hand and seal of office
this August 30, 2024

Certified Document Number: 113986259

Mail Bango

Marilyn Burgess. DISTRICT CLERK.
HARRIS COUNTY, TEXAS

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IN THE 178TH DISTRICT COURT
HARRIS. COUNTY TEXAS.

STATE OF TEXAS § Case NO. 181797001010
ACCUSER § FELED

§ . Marilyn Burgess

§ Distri Clerk
V. § APR 17 2024

; Tima: HRarrls Guuniy, Texas
Mitchell, Anthony Craig § Motion for Sanctions Fo? sani

§

ACCUSED Michael Haddon & Kim Ogg

MOTION for Sarictions on the prosecuting attorney for Failure to make
Discovery

in accordance with Texas Statutes Criminal Procedure 39.14 Discovery and inspection, The defense has
previously. and formally requested in writing a detailed Discovery (more than 30 calendar days prior) from

the Prosecution (Michael Haddon and District Attorney Kim Ogg) who chose to prosecute this matter and

‘ ws _ has yet to receive anything requested nor a written statement from the States Attorney General as required

by law, Due Process, Good Faith and clean hands on behalf of the prosecution within this matter.

Law and argument

As shown by the United States Supreme Court Ruling "Due process requires that when governmental ,

agencies that adjudicate or make binding determinations which directly affect legal rights of individuals,
they use procedures which have traditionally been associated with judicial process.” Amos Treat & Co. v.
Securities & Exchange Commission, 306 F. 2d 260 (1982), the defense within this matter contends that not
applying sanctions within this matter would be a direct acceptance of violations that are required within any
criminal adjudication in this State and Nation. The defense within this matter is maintaining complete
innocence within this matter and itis the Duty of the Prosecution to produce actual evidence of guilt to
support the allegations, to which at this flme, the prosecution has FAILED to do so.

There has not been any written rulings nor written determination from the Texas State Attomey General as
to NOT allow the turning over of Discovery, thus making the more than 60 days of refusing full disclosure of
discovery a violation worthy of court issued sanctions.

Michael Haddon has made several attempts at circumventing the law by openly making threats against self
representation even ajter an entry of appearance motion had been filed into this matter illustrating the
ability to exercise the constitutionally protected right of self representation. Michael Haddon has attempted
on a number of occasions to have ex parte conversations with the sitting judge within this matter. Michael
Haddon has made several attempts to move this matter forward without tuning over requested discovery..

RECORDER'S MEMORANDUM
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Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD Page 62 of 69

Remedy

As required by Texas Organic code, a complete disclosure of discovery be tumed over to the defendant
upon request immediately, or a writen statsment which complies with the Open Government Act of 2007
stating fhe reason this information Is not being tumed over to offer the appearance of a fair fal and the
opportunity for a vigorous defense as required by the state of Texas, and sanctions be imposed on the
prosecution (Michaol Haddon And District Attomiey Kim Ogg) for falling to make discovery avallable as
required by fhe very law they state they are swom to uphold while abiding by The United States of America
Constitufion and American Bar Association Rule 3.8 (Prosecutor In a criminal casa shall (a) refrain from
prosecuting a charge that fhe prosecutor knows Is not supported by probable cause) and the Constitution of
the State of Texas, as to no presumptions are allowed within a matter to which ones liberty [a at stake,
being all human beings have the God given nght fo be Presumed INNOCENT until PROVED guilty by
evidence supporting an accusation.

Respectfully Submitted
Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD Page 63 of 69

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I, Marilyn Burgess, District Clerk of Harris
County, Texas certify that this is a true and
correct copy of the orginal record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witness my official hand and seal of office
this August 30, 2024

Certified Document Number: 113986260

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Marilyn Burgess, DISTRICT CLERK
HARRIS COUNTY, TEXAS

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IN THE 178TH DISTRICT COURT
HARRIS COUNTY TEXAS
§
STATE OF TEXAS §
ACCUSER § Motion to Campel
V. § Vaughn Motion
§
Mitchell, Anthony Craig § Case No:181797001010
ACCUSED §
MOTION TO COMPEL - VAUGHN MOTION
Second Notice
Complaint

1. INTRODUCTION

This is to service as NOTICE that discovery has been requested previously on 6 March 2024 via certified
mail and was signed for as received and acknowledged more than 98 days previous without being supplied
the requested information pertaining to the above noted allsgations cited for

Texas Criminal Procedures Discovery requires as soon as possible affer a request has been received that
the state shall produce and permit the inspection and the electronic duplication, copying, and
photographing , by or on behalf of the defendant of any

1) Offense reports
2) Any designated documents
3) Papers

4) Written or recorded statements of defendant or witnesses / including those made by law
enforcement

5) Designated books
6) Accounts
7) Evidence material to any involvement in the action (Crime)

8) Witness information / including Officer Giglio information as it is the officer's signed affidavit
(Police Report) that the prosecutor within this matter is using as evidence to bring these
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CHARGES, the officer's personnel records, disciplinary actions, civilian complaints, legal actions,
and any and all reprimands are subject to inspection.

Brady v Maryland 373 US 83 (1963) Withholding of evidence (as the prosecution is doing in this matter)
violates DUE PROCESS, where the evidence is material either to guilt or to innocence. It has been clearly
established that prosecutors have an affirmative duty, as a matter of constitutional law, to disclose all known
exculpatory evidence to the accused in a criminal proceeding. If the prosecution suppresses evidence (as it
appears is being done in this matter) favorable to the accused, it violates due process as guaranteed by the
fourteenth amendment to the United States Constitution. Youngblood v West Virginia 547 US 867 (2006)
Brady is violated when the government fails to tum over even evidence that is known only to police
investigators and not to the prosector.

The Accused moves this court again for an order requiring the Prosecution to provide immediately after
service of this complaint in this matter, an itemized, indexed inventory of every agency record or portion
thereof responsive to Plaintiff's request which is requested for disclosure to put together a Fair and Proper
defense, and any information the prosecution deems exempt or exculpatory in regards {fo this matter, a
written explanation from the state's attomey general as required by law of why/ how within a detailed
justification statement covering each refusal to release records or portions thereof in accordance with the
indexing requirements of Vaughn v Rosen, 484 F.2d 820 (D.C. Cir. 1973} 415 US 977 (1974) and the
Freedom of Information Act 1966 As | am requesting MY OWN RECORDS, and nothing requested by The
Accused falls under the 1976 Government in the Sunshine Act because:
1) No record being requested is relating to the National Defense
2) No record is solely related to intemal personne! rules and practices
3) No record is directly accusing someone of a crime
4) No record is information where disclosure would breach their privacy because the records
requested are of public records.
5) No record will harm or delay the proceedings and in fact could prove to speed this matter along to
a conclusion where the absent could serve to prolong them.
6) No record will lead to financial speculation or endanger the stability of any lawful financial institution

Cause of action
This matter is brought before this court under 5 USC § 552 Freedom of Information Act as this information
4s relevant and helpful to the defense in this matter. See:

* — Vaughn v Rosen, 484 F.2d 820 (D.C. Cir. 1973) 415 US 977 (1974)
« 1976 Govemment in the Sunshine Act

¢ — Washington v. Texas and

« Chambers v. Mississippi,

The defendant has a fundamental right in requested discovery to access and evaluate any and all evidence
in order to prepare a defense of ones life, liberty, reputation, property and happiness, in the pursuit of
justice to remain innocent until proven guilty. The accuses request this court again order the prosecution to
tum over all requested evidence as required by law and the statutes of the state of Texas immediately.

Respectfully Submitted

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Case 4:24-cv-03253 Document 1-1 Filed on 08/30/24 in TXSD Page 66 of 69

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County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard

copy, as it appears on this date.

Witess my official hand and seal of office
this August 30. 2024

Certfied Document Number: 114984061

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Marilyn Burgess, DISTRICT CLERK
HARRIS COUNTY, TEXAS

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FILED

Marilyn Burgess
District Clerk

MAR 06 2024

IN THE 178th DISTRICT COURT Time:__- apg

Harris County Texas By
Deputy
STATE OF TEXAS § Case number : 181797001010
ACCUSER §
§
§
V. §
| §
§ Motion for Discovery
Mitchell, Anthony Craig §
ACCUSED §
JUDGE TBD
MOTION for Discovery

In accordance with Texas code of criminal procedure 39.14 The defense is formally requesting a detailed
Discovery from the Prosecution 10 days prior to trial as stated within the statute that the prosecution is
bound by.

Law and argument

1) Any and all audio associated with the above stated citation(s), to include:

a. Any and ail communications made to and from all officers on the scene. This would include
the call for the officer fo report to the scene, the emergency cail made to request police
services, calls made and received by the officer during the first contact with the accused

b. Any and all video associated with the above stated charges’) to include:

2) the dash camera video of the initial officer making first contact, any and all officer body camera

footage in an unaltered state
3) Copies of each officer's sworn statements of the scene (I.E. Each officer's Police report as required by
law and Due Process of LAW)
4) Complete witness contact list of those that may or may not be called to testify to accounts of this matter
5) Copy of the dispatch records regarding the communications relating to the above stated matter.
6) The application for the arrest warrant
7) The arrest Warrant for the accused, IE the date and time of signed, and date and time of verification, and
the date and time of verification that the alleged warrant was active and valid
8) The search warrant application for the search conducted by officers at the scene on the property and
person of the accused since no consent was given at the time of the search
9} The signed search warrant for the property of the accused stating the specific items being searched for
and the specific places they were to search
10) Copy of the search itemized catalog of all items recovered and recorded by Officers while searching the
property belonging to the accused
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11) Copy of the scene log as to detail the exacts which required the arrest of the accused
12) Copies of each witness sworn statement signed under penalty of perjury

13) Giglio request for each deputy involved within this matter:

to include but not limited to

A} Department reprimands,

B) civilian complains,

C) any and all pending & Concluded lawsuits against each deputy,

D) any and all disciplinary actions,

E) any and records of potential perjury while testifying in open court.

This is important for a proper defense of these accusations, and no record being requested is restricted by
Texas code of criminal procedure 39.14 nor the Government in the Sunshine Act and is in accordance with
Federal law.

Brady v Maryland 373 US 83 (1963)

The Court in Brady held that a prosecutor commits a Due Process violation, requiring reversal of a
conviction, when it is shown that the prosecutor withheld favorable, material evidence.

A criminal defendant has a constitutional right to disclosure of exculpatory evidence that is material to guilt
or punishment.'

"suppression by the prosecution of evidence favorable to an accused upon request violates Due Process
where the evidence is material either to guilt or to punishment, irrespective of the good faith or bad faith of
the prosecution."

Mooney V Holohan 294 US 103 (1935)
Non disclosure by a prosecutor violates due process

United States v Blanco, 03-10390, (2004) US App Lexis 26815, 392 F 3d 382 (9th Cir 2004)
Exculpatory evidence cannot be kept out of the hands of the defense just because the prosecutor does not
have it...

The requested information is to impeach the STATES witness against the accused, to see if there is a
TRUE witness against the accused.

Exculpatory evidence includes evidence reflecting on whether witnesses against the accused are credible,
which might be used by the defendant's attorney at trial for purposes of impeachment.

Giglio v United States 450 US 150 (1972)

Remedy

As required by Texas code of criminal procedure 39.14, a complete disclosure of discovery be turned over
to the defendant upon request promptly, or a written statement which complies with the Open Government
Act of 2007 stating the reason this information is not being turned over to offer the appearance of a fair trial
and the opportunity for a vigorous defense as required by the state of Mississippi, The United States of
America Constitution and American Bar Association, as to no presumptions are allowed within a matter to
which ones liberty is at stake, being all human beings have the God given right to be Presumed
oF

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INNOCENT until PROVED guilty by evidence supporting an accusation, within 10 business days prior to
trial as stated within the Texas code of criminal procedure 39.14

Respectfully Submitted

by Bahn cg hl
